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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION




UNITED STATES OF AMERICA                                                   PLAINTIFF


v.                              NO. 4:12CR00014-022 SWW


MICHAEL WATKINS                                                            DEFENDANT



                                            ORDER

       The U. S. Probation Office has advised the Court that the fine range listed in the Judgment

and Commitment [doc #594] and the Amended Judgment [doc #597] should be modified.

       IT IS SO ORDERED that the Judgment and Commitment and the Amended Judgment be

amended to reflect that the fine range is $3,000 - $1,000,000.

       IT IS FURTHER ORDERED that all other terms and conditions of defendant’s Judgment

and Commitment shall remain unchanged and in full force and effect.

       DATED this 6th day of June 2013.



                                                            /s/Susan Webber Wright

                                                           UNITED STATES DISTRICT JUDGE
